Case 2:04-cv-02918-BBD-dkv Document 10 Filed 06/07/05 Page 1 of 2 Page|D 19

Fll.EO raw ., nw D,C,
IN THE UNITED s'rA'rEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsIoN 05 JUN “7 PH 2‘ 50

 

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JO ANN STREET, VUD,OFTN,MEMPWS

vs. No. 04-2918-DV

SMITH & NEPHEW, INC.,

v\_d\~/\_¢\_d~.,¢vvh.¢

Defendant.

 

ORDER

 

Upon motion of attorney Steven R. Sedberry, one of the
attorneys of record for Smith & Nephew, Inc., and finding that the
motion is well taken and should be granted,

IT IS ORDERED that attorney Steven R. Sedberry is allowed to

withdraw from this case.

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DIANE K. vEscovo
UNITED s ATES MAGISTRATE JUDGE
DATE= 7,, .;M 05

 
 
 

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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

